                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                      Plaintiff,

       v.                                                           Case No. 16-CR-21

SAMY HAMZEH,

                      Defendant.


                                       MOTION TO SEAL


       NOW COMES the United States of America, by its attorneys, Matthew D. Krueger, United

States Attorney for the Eastern District of Wisconsin, and Adam Ptashkin and Benjamin Taibleson,

Assistant United States Attorneys for said district, and hereby moves the Court, pursuant to Rule

79(d) of the General Local Rules of the United States District Court for the Eastern District of

Wisconsin, for an order sealing the defense’s Second Supplemental Memorandum in Support of CIPA

Objections (R.244), ECF NO. 279 filed in the above-named case, until further order of this Court.

       As a basis for said motion, the government relies upon the facts and circumstances

described in the defendant’s submission.

       Respectfully submitted this 18th day of September, 2019 at Milwaukee, Wisconsin.

                                                     Respectfully submitted,
                                                     MATTHEW D. KRUEGER
                                                     United States Attorney


                                             By:     s/ ADAM PTASHKIN
                                                     Assistant United States Attorney




            Case 2:16-cr-00021-PP Filed 09/18/19 Page 1 of 1 Document 282
